






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-04-280 CR


____________________



HENRY JONES, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 83262






MEMORANDUM OPINION (1)


	Henry Jones was convicted and sentenced on an indictment for theft.  Jones filed
a notice of appeal on June 10, 2004.  The trial court entered a certification of the
defendant's right to appeal in which the court certified that this is a plea-bargain case and
the defendant has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The trial court's
certification has been provided to the Court of Appeals by the district clerk.

	On June 22, 2004, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a
part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered August 12, 2004

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


